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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

   SYMBOLOGY INNOVATIONS, LLC,
                                                         Case No. 2:15-cv-01169-JRG-RSP
     Plaintiff,
                                                         LEAD CASE
     v.

   ADAMS EXTRACT,

     Defendant.

   SYMBOLOGY INNOVATIONS, LLC,
                                                         Case No: 2:15-cv-1182-JRG-RSP
     Plaintiff,
                                                         CONSOLIDATED CASE
     v.

   STATE FARM MUTUAL AUTOMOBILE
   INSURANCE COMPANY,

     Defendant.



                           STIPULATED MOTION FOR DISMISSAL


           Plaintiff Symbology Innovations, LLC and Defendant State Farm Mutual Automobile

  Insurance Company, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and (c) hereby move for an order

  dismissing all claims and counterclaims in this action, with prejudice, wherein each party shall

  bear its own costs, expenses and attorneys fees.




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  Dated: July 8, 2016
                                     Respectfully submitted,

                                     /s/ Jay Johnson
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                                   Respectfully submitted,

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                                             Attorneys for Defendant State Farm Mutual
                                             Automobile Insurance Company




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                                 CERTIFICATE OF SERVICE

          I hereby certify that on July 8, 2016, a copy of the foregoing document was filed
  electronically using the court’s Electronic Case Management System. Notice of this filing will
  be sent electronically to counsel of record using the Court’s electronic notification system.


                                                             /s/Jay Johnson
                                                             JAY JOHNSON




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